                       Case 1:21-cv-03082-JPB Document 48 Filed 07/06/22 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION
                                             1:21-cv-03082-JPB
                                      King et al v. State of Georgia et al
                                           Honorable J. P. Boulee

                                  Minute Sheet for proceedings held on 07/06/2022.


             TIME COURT COMMENCED: 1:00 P.M.
             TIME COURT CONCLUDED: 1:20 P.M.               COURT REPORTER: Penny Coudriet
             TIME IN COURT: 00:20                          DEPUTY CLERK: Ciarra Oduka
             OFFICE LOCATION: Atlanta

         ATTORNEY(S)         Jason Carter representing Von King
         PRESENT:            Miriam Gutman representing Von King
                             Kimberly Lewis representing State of Georgia
                             Juliana Mesa representing Von King
                             Jamie Rush representing Von King
                             Katherine Stoff representing State of Georgia
         PROCEEDING
                             Status Conference(Other Proceeding Non-evidentiary);
         CATEGORY:
         MINUTE TEXT:        The Court held a Status Conference via Zoom on 7/6/2022. The Court
                             addressed the [46] Emergency Motion to Withdraw Defendants Consent to
                             Preliminary Approval of Class Settlement. The parties agreed to confer on
                             the matter and provide the Court with a status update no later than
                             Wednesday, July 13, 2022. Hearing concluded. See transcript for
                             additional details.
         HEARING STATUS:     Hearing Concluded




1 of 1
